Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20         Page 1 of 16 PageID 38207



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NOTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

 TYRONE CADE,                             §
                                          §
                   Petitioner,            §
                                          §
 v.                                       §     Civil Action No. 3:17-cv-3396-G-BT
                                          §
 LORIE DAVIS, Director,                   §
                                          §
                   Respondent.            §

         FINDINGS, CONCLUSIONS, AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE

       Petitioner Tyrone Cade has filed a motion for stay and abeyance (ECF no.

 100). For the following reasons, the Court should GRANT the motion.

                                   Background

       On March 27, 2011, Cade fatally stabbed his girlfriend and her teenage

 daughter. He later turned himself into law enforcement authorities and gave a

 videotaped confession. Cade v. State, AP-76,883, 2015 WL 822421, *1-*2 (Tex.

 Crim. App. Feb. 25, 2015). At the guilt-innocence phase of his trial, Cade’s trial

 counsel asserted an insanity defense under Section 8.01 of the Texas Penal Code,

 which the jury rejected. The jury convicted Cade of capital murder; it also

 subsequently   answered    the   Texas       capital   sentencing   scheme’s   future

 dangerousness special issue affirmatively and the mitigation special issue

 negatively. The Texas Court of Criminal Appeals (TCCA) affirmed Cade’s

 conviction and sentence. Cade v. State, AP-76,883, 2015 WL 822421, *41. Cade
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20        Page 2 of 16 PageID 38208



 filed an application for state habeas corpus relief which the TCCA denied. Ex parte

 Cade, WR-83,274-01, 2017 WL 4803802 (Tex. Crim. App. Oct. 25, 2017).

       Thereafter, on March 28, 2019, Cade filed his first amended federal habeas

 corpus petition in this court (ECF no. 79), asserting twenty claims for relief.

 Respondent filed her answer on July 26, 2019 (ECF no. 82). Cade filed his reply

 brief November 12, 2019 (ECF no. 98). Respondent was granted leave to file a sur-

 reply on January 23, 2020 (ECF no. 110). Cade filed his final reply brief on the

 merits on March 23, 2020 (ECF no. 114).

       Now, Cade requests a stay and abeyance to permit him to return to state

 court and exhaust state habeas corpus remedies on five of his claims in his first

 amended petition: claim 4 (in which he argues that his trial counsel rendered

 ineffective assistance by failing to raise a mental health defense at the guilt-

 innocence phase of trial other than that of insanity); claim 9 (in which he is exempt

 from execution because he is intellectually disabled, i.e., his Atkins claim); claim

 11 (ineffective assistance based upon his trial counsel’s failure to investigate and

 present available mitigating evidence showing his lack of propensity for future

 dangerousness); claim 15 (cumulative error); and claim 18 (ineffective assistance

 arising from his trial counsel’s failure to investigate and present available

 mitigating evidence).

                                   Legal Standards

       The Supreme Court has made it clear that a federal habeas court should

 defer action on a mixed petition such as Cade’s first amended petition until the

                                          2
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20           Page 3 of 16 PageID 38209



 appropriate state court has had the first opportunity to rule on the merits of an

 unexhausted claim. Rhines v. Weber, 544 U.S. 269, 273-74 (2005). A stay is the

 appropriate means of fulfilling the principles of comity underlying the exhaustion

 doctrine. Rhines, 544 U.S. at 276. A stay and abeyance is only appropriate when

 the federal habeas court determines there was good cause for the petitioner’s

 failure to exhaust his claims first in state court. Id., at 277. Even if good cause exists

 for the failure to exhaust, a stay is inappropriate when the unexhausted claim is

 plainly meritless. Id.

                                    Exhausted Claims

       Cade seeks leave to return to state court to re-litigate two claims, i.e., claim

 4 and claim 18, which he fully litigated and on which he obtained rulings on the

 merits from the Texas Court of Criminal Appeals during his first state habeas

 corpus proceeding. Insofar as he argues that the Supreme Court’s holdings in

 Martinez v. Ryan, 566 U.S. 1 (2012), and Trevino v. Thaler, 569 U.S. 413 (2013),

 allow him to re-litigate with new evidence these two claims, he misconstrues the

 holdings in those two Supreme Court opinions. The Supreme Court’s holding in

 Martinez v. Ryan furnishes a narrow avenue for circumventing a procedural

 default. It requires a showing that the performance of state habeas counsel was so

 deficient as to completely preclude state court merits review of a meritorious claim

 of ineffective assistance by trial counsel, thus permitting a federal habeas court to

 undertake a merits review of the otherwise procedurally defaulted complaint of

 ineffective assistance by state trial counsel. See In re Edwards, 865 F.3d 197, 207-

                                             3
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20          Page 4 of 16 PageID 38210



 08 (5th Cir. 2017) (To show cause for procedural default under Martinez and

 Trevino, “the petitioner must show (1) that his claim of ineffective assistance of

 counsel at trial is ‘substantial’ (i.e., ‘has some merit’); and (2) that his habeas

 counsel was ineffective for failing to present those claims in his first state habeas

 application.” (quoting Beatty v. Stephens, 759 F.3d 455, 465-66 (5th Cir. 2014));

 Prystash v. Davis, 854 F.3d 830, 836 (5th Cir. 2017) (holding the Supreme Court’s

 rulings in Martinez and Trevino created a narrow exception to the general rules of

 procedural default that applies only to a claim of ineffective assistance by state trial

 counsel).

       Cade was not precluded by his state habeas counsel’s allegedly ineffective

 assistance from fairly presenting and obtaining a ruling on the merits from the

 TCCA of either of these ineffective assistance claims during his state habeas corpus

 proceeding. On the contrary, the TCCA rejected both claims on the merits. Thus,

 Cade may not rely on Martinez or Trevino to justify a stay in this cause to allow

 Cade to return to state court and attempt to re-litigate those two claims using new

 factual allegations and new evidence. Likewise, Cade may not re-litigate those

 claims in this court using new factual allegations and new evidence. Cullen v.

 Pinholster, 563 U.S. 170, 181-82 (2011) (“[R]eview under § 2254(d)(1) is limited to

 the record that was before the state court that adjudicated the claim on the merits.

 Section 2254(d)(1) refers, in the past tense, to a state-court adjudication that

 ‘resulted in’ a decision that was contrary to, or ‘involved’ an unreasonable

 application of, established law. This backward-looking language requires an

                                            4
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20         Page 5 of 16 PageID 38211



 examination of the state-court decision at the time it was made. It follows that the

 record under review is limited to the record in existence at that same time i.e., the

 record before the state court.”).

       Thus, Cade is not entitled to a federal evidentiary hearing on any of his

 claims which were rejected on the merits by the state courts, either on direct appeal

 or during his state habeas corpus proceeding. See Halprin v. Davis, 911 F.3d 247,

 255 (5th Cir. 2018) (“If a claim has been adjudicated on the merits by a state court,

 a federal habeas petitioner must overcome the limitation of § 2254(d)(1) on the

 record that was before that state court.” (quoting Pinholster, 563 U.S. at 185)), cert.

 denied, 140 S. Ct. 167 (2019). He is not entitled to a stay of this proceeding so that

 he can return to state court and seek to re-litigate the same claims with new

 evidence.

       Likewise, Cade’s complaints of ineffective assistance by his state habeas

 counsel during his first state habeas corpus proceeding do not furnish an

 independent basis for federal habeas corpus relief. Infirmities in state habeas

 corpus proceedings do not give rise to a basis for federal habeas relief. See, e.g.,

 Stevens v. Epps, 618 F.3d 489, 502 (5th Cir. 2010) (allegedly inadequate funding

 and staffing of the Mississippi Office of Capital Post-Conviction Counsel); Haynes

 v. Quarterman, 526 F.3d 189, 195 (5th Cir. 2008) (alleged ineffective assistance

 by initial state habeas counsel); 28 U.S.C. § 2254(i). Cade is not entitled to a stay

 and abeyance of this cause so that he can return to state court and seek to re-litigate

 claims on which he has already obtained a ruling on the merits.

                                           5
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20              Page 6 of 16 PageID 38212



                               Intellectual Disability Claim 1

       Cade also seeks leave to return to state court to litigate a new Atkins claim

 (claim 9). During his capital murder trial, Cade presented testimony from several

 different mental health experts. None suggested Cade was intellectually disabled.

 In his first amended petition, Cade admits that he is a high school graduate who

 briefly attended community college but insists his academic deficits qualify him as

 intellectually disabled. First. Am. Pet. (ECF no. 79) at 82-88. At no point in his first

 amended petition, however, does Cade allege any specific facts showing that any of

 the mental health professionals who have evaluated him has ever diagnosed Cade

 as intellectually disabled.

       The Supreme Court’s case law addressing intellectual disability does not

 provide a uniform definition for the condition. In Atkins v. Virginia, 536 U.S. 304

 (2002), the United States Supreme Court concluded the execution of “mentally

 retarded” persons failed to fulfill either of the two justifications for capital

 punishment, i.e., retribution and deterrence, and held the Eighth Amendment




 1 While the parties’ pleadings in both the state habeas court and this court
 occasionally employ the terms “mental retardation” and “mentally retarded,” the
 undersigned uses the terms “intellectual disability” and “intellectually disabled.”
 See In re Cathey, 857 F.3d 221, 223 n.1 (5th Cir. 2017) (“The term ‘intellectual
 disability’ has replaced ‘mental retardation.’” (citing Brumfield v. Cain, 576 U.S.
 305, ___ n.1, 135 S. Ct. 2269, 2274 n.1 (2015)); see also Hall v. Florida, 572 U.S.
 701, 704-05 (2014) (“This change in terminology is approved and used in the latest
 edition of the Diagnostic and Statistical Manual of Mental Disorders, one of the
 basic texts used by psychiatrists and other experts, the manual is often referred to
 by its initials ‘DSM,’ followed by its edition numbers, e.g., ‘DSM-5.’”).

                                             6
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20         Page 7 of 16 PageID 38213



 forbids the execution of mentally retarded persons. Atkins, 536 U.S. at 318-21. The

 Supreme Court cited two clinical definitions of “mental retardation” with approval:

         The American Association on Mental retardation (AAMR) defines
         mental retardation as follows: “Mental retardation refers to
         substantial limitations in present functioning. It is characterized by
         significantly     subaverage    intellectual    functioning,   existing
         concurrently with related limitations in two or more of the following
         applicable adaptive skill areas: communication, self-care, home
         living, social skills, community use, self-direction, health and safety,
         functional academics, leisure and work. Mental retardation manifests
         before age 18.” Mental Retardation, definition, Classification, and
         Systems of Supports 5 (9th ed. 1992).

 [and]

         The American Psychiatric Association’s definition is similar. “The
         essential feature of Mental Retardation is significantly subaverage
         general intellectual functioning (Criterion A) that is accompanied by
         significant limitations in adaptive functioning in at least two of the
         following skill areas: communication, self-care, home living,
         social/interpersonal skills, use of community resources, self-
         direction, functional academic skills, work, leisure, health and safety
         (Criterion B). The onset must occur before age 18 years (Criterion C).
         Mental Retardation has many different etiologies and may be seen as
         a final common pathway of various pathological processes that affect
         the functioning of the central nervous system.” Diagnostic and
         Statistical Manual of Mental Disorders 41 (4th ed. 2000). “Mild
         mental retardation is typically used to describe people with an IQ of
         50-55 to approximately 70. Id., at 42-43.

 Id., at 309 n.3. But, ultimately, the Court left to the States “the task of developing

 appropriate ways to enforce the constitutional restriction upon [their] execution of

 sentences.” Id., at 317; see also Bobby v. Bies, 556 U.S. 825, 831 (2009) (noting

 Atkins did not provide definitive procedural or substantive guides for determining

 when a person who claims intellectual disability will be so impaired as to fall within

 Atkins’ limits).

                                            7
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20         Page 8 of 16 PageID 38214



       Nonetheless, the Supreme Court recognizes that “an IQ between 70 and 75

 or lower” is “typically considered the cutoff IQ score for the intellectual function

 prong of the mental retardation definition.” Brumfield v. Cain, 576 U.S. 305, 315,

 (2015) (quoting Atkins, 536 U.S. at 309 n.5). Thus, an IQ score of 75 is “squarely

 in the range of potential intellectual disability.” Brumfield, 576 U.S. at 315.

       Regarding the first prong of the Atkins analysis, i.e., establishing

 significantly subaverage intellectual functioning, the Supreme Court has held that,

 because of the imprecision inherent in IQ testing, 2 a court must consider the

 standard error of measurement (SEM) when assessing intellectual disability:




 2In Hall v. Florida, 572 U.S. 701 (2014), the Supreme Court explained in some
 detail the nature of the imprecision inherent in IQ testing as follows:

       The professionals who design, administer, and interpret IQ tests have
       agreed, for years now, that IQ test scores should be read not as a single
       fixed number but as a range. Each IQ test has a “standard error of
       measurement,” often referred to by the abbreviation “SEM.” A test’s
       SEM is a statistical fact, a reflection of the inherent imprecision of the
       test itself. An individual’s IQ test score on any given exam may
       fluctuate for a variety of reasons. These include the test taker’s health;
       practice from earlier tests; the environment or location of the test; the
       examiner’s demeanor; the subjective judgment involved in scoring
       certain questions on the exam; and simple lucky guessing. . . . The
       SEM reflects the reality that an individual’s intellectual functioning
       cannot be reduced to a single numerical score. For the purposes of
       most IQ tests, the SEM means that an individual’s score is best
       understood as a range of scores on either side of the recorded score.
       The SEM allows clinicians to calculate a range within which one may
       say an individual’s true IQ score lies. . . . Even when a person has taken
       multiple tests, each separate score must be assessed using the SEM,
       and the analysis of multiple IQ scores jointly is a complicated
       endeavor. In addition, because the test itself may be flawed, or
       administered in a consistently flawed manner, multiple examinations
                                           8
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20            Page 9 of 16 PageID 38215



       The legal determination of intellectual disability is distinct from a
       medical diagnosis, but it is informed by the medical community’s
       diagnostic framework. Atkins itself points to the diagnostic criteria
       employed by psychiatric professionals. And the professional
       community’s teachings are of particular help in this case, where no
       alternative definition of intellectual disability is presented and where
       this Court and the States have placed substantial reliance on the
       expertise of the medical profession.

       By failing to take into account the SEM and setting a strict cutoff at
       70, Florida “goes against the unanimous professional consensus.”
       APA Brief 15. Neither Florida nor its amici point to a single medical
       professional who supports this cutoff. The DSM–5 repudiates it: “IQ
       test scores are approximations of conceptual functioning but may be
       insufficient to assess reasoning in real-life situations and mastery of
       practical tasks.” DSM–5, at 37. This statement well captures the
       Court's independent assessment that an individual with an IQ test
       score “between 70 and 75 or lower,” Atkins, supra, at 309, n. 5, 122
       S.Ct. 2242, may show intellectual disability by presenting additional
       evidence regarding difficulties in adaptive functioning.

 Hall v. Florida, 572 U.S. 701, 721-22 (2014).

        In Moore v. Texas, 581 U.S. ___, ___, 137 S. Ct. 1039, 1048-53 (2017)

 (Moore I), the Supreme Court further restricted States’ ability to circumscribe the

 legal definition of “intellectual disability,” holding (1) a State’s determination

 under Atkins must be guided by current medical standards 3 and (2) States are not


       may result in repeated similar scores, so that even a consistent score
       is not conclusive evidence of intellectual functioning.

 Hall, 572 U.S. at 712-14 (internal citations and quotations omitted).
 3 Moore I, 137 S. Ct. at 1048-49 (“Although Atkins and Hall left to the States “the
 task of developing appropriate ways to enforce” the restriction on executing the
 intellectually disabled, States’ discretion, . . ., is not “unfettered.” Even if “the views
 of medical experts” do not “dictate” a court’s intellectual-disability determination,
 . . ., the determination must be “informed by the medical community’s diagnostic
                                             9
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20        Page 10 of 16 PageID 38216



 free to adopt criteria unsupported by medical science to evaluate a defendant’s

 alleged subaverage intellectual functioning or deficits in adaptive skills. 4 More

 specifically, the Supreme Court held the TCCA erred in applying a set of non-

 clinical criteria known as the Briseno factors in evaluating a defendant’s claim of

 intellectual disability because (1) some of the Briseno factors had implicitly been

 rejected by the medical community (in part because they were based on outdated

 stereotypes) and (2) all the Briseno factors were little more than lay perceptions of

 intellectual disability untethered to any clinical medical standard. Moore I, 137 S.

 Ct. at 1050-53. Two years later, in Moore v. Texas, 139 S. Ct. 666, 668-72 (2019)

 (Moore II), the Supreme Court again struck down as a violation of the Eighth


 framework.” . . . Florida, . . ., had violated the Eighth Amendment by “disregarding
 established medical practice” [and] . . . parted ways with practice and trends in
 other States. Hall indicated that being informed by the medical community does
 not demand adherence to everything stated in the latest medical guide. But neither
 does our precedent license disregard of current medical standards.”) (citations
 omitted).

 4 For example, the Supreme Court pointed out the Texas appellate court focused
 on Moore’s perceived adaptive strengths in certain areas when the current clinical
 approach called for identification of deficits in adaptive skills. Moore I, 137 S. Ct.
 at 1050. The Texas appellate court also pointed out Moore’s improved behavior in
 prison; whereas the Supreme Court noted clinicians caution against reliance on
 adaptive strengths developed in a controlled setting. Id. The Texas appellate court
 attempted to explain away Moore’s poor academic performance by pointing to
 traumatic childhood abuse and suffering; the Supreme Court pointed out the
 medical community employed such traumatic experiences as “risk factors”
 sufficient to explore the prospect of intellectual disability. Id., at 1051. The Texas
 appellate court required Moore to show that his adaptive deficits were unrelated
 to his “personality disorder”; the Supreme Court pointed out mental health
 professionals have long recognized that intellectual disability may be co-morbid
 with a wide variety of personality disorders, attention-deficit disorder, depression,
 and even bi-polar disorder. Id.

                                          10
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20          Page 11 of 16 PageID 38217



 Amendment a new TCCA determination that Moore was intellectually disabled,

 finding the TCCA had committed many of the same analytical errors identified in

 Moore I.

       Thus, the Supreme Court’s case law addressing intellectual disability does

 not employ a uniform definition of the condition. Instead, the Supreme Court

 recognizes the distinction between the medical and legal definitions of intellectual

 disability and directs the States to craft their own approaches to the issue. And the

 Supreme Court has reversed state courts for straying too far from current, best

 medical practices. The result is a fluid legal landscape in which state courts and

 legal practitioners have operated since Atkins.

       What is clear at this juncture is that whether Cade is intellectually disabled

 is a question of fact. Matamoros v. Stephens, 783 F.3d 212, 216 (5th Cir. 2015);

 Maldonado v. Thaler, 625 F.3d 229, 236 (5th Cir. 2010). The Supreme Court and

 Fifth Circuit have both made clear that, under the AEDPA, the proper place for

 development of the factual bases for federal habeas claims is the state courts. See

 Harrington v. Richter, 562 U.S. 86, 103 (2011) (“Section 2254(d) thus

 complements the exhaustion requirement and the doctrine of procedural bar to

 ensure that state proceedings are the central process, not just a preliminary step

 for a later federal habeas proceeding.”); Hernandez v. Johnson, 108 F.3d 554, 558

 n.4 (5th Cir. 1997) (holding AEDPA clearly places the burden on a federal habeas

 petitioner to raise and litigate as fully as possible his federal claims in state court).



                                            11
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20       Page 12 of 16 PageID 38218



       Cade alleges that he has tested in the 76-80 range on standardized IQ tests

 and his background demonstrates multiple deficits in adaptive behavior.

 Considering the SEM of plus or minus five points for most IQ tests, and the

 possible application of the “Flynn effect,” which neither party has yet addressed in

 a meaningful manner, Cade’s allegations put him at least within the range of a

 possible diagnosis of intellectual disability. Cade argues persuasively that he

 should be permitted to return to state court to argue and present evidence showing

 that he is intellectually disabled - a contention which if proven, would render moot

 many of the other claims Cade has presented to this federal habeas court in his first

 amended petition. Cade also correctly points out that the TCCA’s persistent

 reliance upon the Briseno factors, see Ex parte Briseno, 135 S.W.3d 1, 8 (Tex. Crim.

 App. 2004), created analytical confusion within the Texas appellate courts which

 lasted beyond the Supreme Court’s opinion in Moore I.

       Before this court appoints mental health experts to explore whether Cade is

 intellectually disabled and expends scarce judicial resources to hold an evidentiary

 hearing and determine whether in fact Cade is intellectually disabled, the state

 courts should be permitted an opportunity to address that critical factual issue. To

 do otherwise would run counter to the principles of federalism and comity that

 form the basis of the exhaustion doctrine and that underlie the expressions of

 congressional intent found within the AEDPA.

       The legislative history of the AEDPA indicates that it was intended as a

 limitation upon the scope of federal habeas review. One of the principal purposes

                                          12
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20      Page 13 of 16 PageID 38219



 of the AEDPA was to reduce delays in the execution of state and federal criminal

 sentences, especially capital sentences. Ryan v. Gonzales, 568 U.S. 57, 76 (2013);

 Schriro v. Landrigan, 550 U.S. 465, 475 (2007); Rhines, 544 U.S. at 276. Another

 purpose of the AEDPA was to encourage litigants to pursue claims in state court

 prior to seeking federal collateral review. Duncan v. Walker, 533 U.S. 167, 181

 (2001); see also Hernandez, 108 F.3d at 558 n.4 (the AEDPA imposes the burden

 on a petitioner to litigate to the maximum extent possible, including fairly

 presenting all available evidence supporting, his claims in state court). The AEDPA

 was also intended to prevent piecemeal litigation and gamesmanship. Magwood

 v. Patterson, 561 U.S. 320, 334 (2010). Thus, under the AEDPA, federal habeas

 review of claims is limited to the record that was before the state court that

 adjudicated the prisoner’s claims on the merits. Pinholster, 563 U.S. at 182. “The

 AEDPA statute of limitation promotes judicial efficiency and conservation of

 judicial resources, safeguards the accuracy of state court judgments by requiring

 resolution of constitutional questions while the record is fresh, and lends finality

 to state court judgments within a reasonable time.” Day v. McDonough, 547 U.S.

 198, 205-06 (2006). Collectively, the provisions of the AEDPA further the

 principals of comity, finality, and federalism. Panetti v. Quarterman, 551 U.S. 930,

 945 (2007); Miller-El v. Cockrell, 537 U.S. 322, 337 (2003).

       Cade’s request for a stay and abeyance to permit him to return to state court

 and to exhaust available state habeas corpus remedies on his currently

 unexhausted intellectual disability claim in a post-Moore context should be

                                         13
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20         Page 14 of 16 PageID 38220



 granted. The inconsistency found within the Texas appellate courts and among

 Texas legal practitioners by the TCCA’s reliance upon the Briseno factors justifies

 permitting Cade an opportunity to fully and fairly litigate his intellectual disability

 claim in the state courts. Cade’s state trial counsel, state appellate counsel, and

 state habeas counsel confronted a State legal landscape influenced by evolving

 Supreme Court precedent that attempted to define the term intellectual disability

 and the TCCA’s Briseno factors. Counsels’ decision to forego an attempt to assert

 an Atkins claim may have been based upon their understanding of the manner in

 which the TCCA applied the Briseno factors to deny intellectual disability claims.

 Under such circumstances, Cade should be permitted to return to state court and

 litigate his intellectual disability claim, which if successful, will render moot many

 of his claims for federal habeas corpus relief, especially those challenging the

 legitimacy of his death sentence.

       Because Cade is entitled to a stay and abeyance to permit state court

 consideration of his intellectual disability claim, he should be permitted to seek

 state court review on any and all of the claims he has included in his first amended

 petition for federal habeas corpus relief. A stay should be issued consistent with

 the holding in Rhines. Cade will have an opportunity in his second or subsequent

 state habeas corpus proceeding to fairly present the state courts with all of the

 claims that he has included in his first amended federal habeas corpus petition, all

 the factual allegations supporting those claims, and (through properly



                                           14
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20        Page 15 of 16 PageID 38221



 authenticated documents, affidavits, and sworn declarations) all of the evidence he

 wishes to present in support of those claims.

                            Avoiding Unnecessary Delay

       To avoid unnecessary delay in the disposition of the forthcoming state

 habeas corpus proceeding, Cade should be directed to file his application for leave

 to file a second or subsequent state habeas corpus application in the appropriate

 state court in an expeditious manner.

                                  Recommendation

       Cade’s motion for stay and abeyance (ECF No. 100) should be GRANTED;

 and Cade should be directed within 30 days to (1) file in the appropriate state court

 his application for leave to file a second or subsequent state habeas corpus

 application, (2) include in his second or subsequent state habeas corpus

 application (a) all of the claims that he wishes this federal court to consider in

 ruling on his petition for federal habeas corpus relief and (b) all of the factual

 allegations supporting those same claims that he wishes to raise in this court, and

 (3) present the state court with all of the evidence supporting his claims for federal

 habeas corpus relief that he wishes this court to consider in ruling on his claims for

 federal habeas corpus relief.

       SIGNED July 2, 2020.


                                         ___________________________
                                         REBECCA RUTHERFORD
                                         UNITED STATES MAGISTRATE JUDGE


                                          15
Case 3:17-cv-03396-G-BT Document 117 Filed 07/02/20      Page 16 of 16 PageID 38222



                     INSTRUCTIONS FOR SERVICE AND
                       NOTICE OF RIGHT TO OBJECT

        A copy of this report and recommendation shall be served on all parties in
 the manner provided by law. Any party who objects to any part of this report and
 recommendation must file specific written objections within 14 days after being
 served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b). In order to be
 specific, an objection must identify the specific finding or recommendation to
 which objection is made, state the basis for the objection, and specify the place in
 the magistrate judge's report and recommendation where the disputed
 determination is found. An objection that merely incorporates by reference or
 refers to the briefing before the magistrate judge is not specific. Failure to file
 specific written objections will bar the aggrieved party from appealing the factual
 findings and legal conclusions of the magistrate judge that are accepted or adopted
 by the district court, except upon grounds of plain error. See Douglass v. United
 Services Automobile Ass'n, 79 F.3d 1415, 1417 (5th Cir. 1996).




                                         16
